                     Case 8-20-08140-reg     Doc 16-3    Filed 06/28/22    Entered 06/28/22 17:39:47




                                        Exhibit C to Joint Pretrial Memorandum
                                      (The Litigation Administrator’s Exhibit List)

PX No.        Date                      Document Description                    Bates Number or          Valdese Objections
                                                                                   Other Cite

PX-1     August 25, 2020   Complaint to Avoid and Recover Transfers            Adv. Pro. Dkt. No. 1   Relevance.
                           Pursuant to 11 U.S.C. §§ 362, 542, 547, 548, 549                           Hearsay.
                           and 550, for Damages for Violation of the
                           Automatic Stay Pursuant to 11 U.S.C. § 362 and to
                           Disallow Claims Pursuant to 11 U.S.C. § 502

PX-2     November 2018     November 1, 2018 through November 30, 2018          RYNIKER-        Prejudice - Not produced
                           Wells Fargo Bank Account Statement                  VALDESE_0000007 by discovery deadline.
                                                                                                      Best Evidence Rule.
                                                                                                      Hearsay.
                                                                                                      Foundation, including lack
                                                                                                      of personal knowledge.
                                                                                                      Relevance.
                                                                                                      Authentication.
                      Case 8-20-08140-reg       Doc 16-3     Filed 06/28/22    Entered 06/28/22 17:39:47




PX No.         Date                        Document Description                         Bates Number or      Valdese Objections
                                                                                           Other Cite

PX-3      December 2018      December 1, 2018 through December 31, 2018             RYNIKER-        Prejudice - Not produced
                             Wells Fargo Bank Account Statement                     VALDESE_0000020 by discovery deadline.
                                                                                                          Best Evidence Rule.
                                                                                                          Hearsay.
                                                                                                          Foundation, including lack
                                                                                                          of personal knowledge.
                                                                                                          Relevance.
                                                                                                          Authentication.

PX-4     February 12, 2019   Motion for Interim and Final Orders (A)                Dkt. No. 14           Relevance
                             Authorizing the Debtors to (I) Continue to Use their
                             Existing Cash Management System and (Ii)
                             Maintain Existing Bank Accounts, (B) Waiving the
                             Requirements of Section 345(B) of the Bankruptcy
                             Code, and (C) Granting Certain Other Related
                             Relief

PX-5      April 10, 2019     Valdese’s Proof of Claim Filed in No. 19-71023,        -
                             Proof of Claim No. 279.

PX-6      April 10, 2019     Valdese’s Proof of Claim Filed in No. 19-71024,        -
                             Proof of Claim No. 34.

PX-7      April 16, 2019     Disclosure Statement for Second Amended Plan of        Dkt. No. 241          Hearsay
                             Liquidation Proposed by the Debtors                                          Relevance




                                                                2
                      Case 8-20-08140-reg      Doc 16-3     Filed 06/28/22    Entered 06/28/22 17:39:47




PX No.         Date                       Document Description                     Bates Number or        Valdese Objections
                                                                                      Other Cite

PX-8     February 14, 2022   Post-Confirmation Report                             Dkt. No. 499       Hearsay
                                                                                                     Relevance

PX-9       May 6, 2019       Findings of Fact, Conclusions of Law and Order (I)   Dkt. No. 303       Relevance
                             Confirming Third Amended Joint Chapter 11 Plan
                             of Liquidation Proposed by the Debtors and (II)
                             Approving the Sale of Substantially all of the
                             Debtors’ Assets

PX-10      May 9, 2019       Notice of (I) Entry of an Order Confirming Third     Dkt. No. 310       Relevance
                             Amended Joint Chapter 11 Plan of Liquidation
                             Proposed by the Debtors, (II) Occurrence of
                             Effective Date, (III) Administrative Expense Claim
                             Bar Date, and (IV) Rejection Damages Bar Date

PX-11      June 28, 2019     Notice of Appointment of a Litigation                Dkt. No. 339       Relevance
                             Administrator

PX-12    January 17, 2019    Emails between Michael Shelton and Lee Silberman RYNIKER-        Prejudice - Not produced
                                                                              VALDESE_0000735 by discovery deadline.
                                                                                                     Best Evidence Rule.
                                                                                                     Hearsay.
                                                                                                     Foundation, including lack
                                                                                                     of personal knowledge.
                                                                                                     Relevance.
                                                                                                     Authentication.




                                                               3
                     Case 8-20-08140-reg     Doc 16-3    Filed 06/28/22   Entered 06/28/22 17:39:47




PX No.        Date                      Document Description                   Bates Number or        Valdese Objections
                                                                                  Other Cite

PX-13    March 4, 2019     Email between Michael Shelton, Lee Silberman, et   RYNIKER-        Prejudice - Not produced
                           al.                                                VALDESE_0000723 by discovery deadline.
                                                                                                 Best Evidence Rule.
                                                                                                 Hearsay.
                                                                                                 Foundation, including lack
                                                                                                 of personal knowledge.
                                                                                                 Relevance.
                                                                                                 Authentication.

PX-14    March 6, 2019 –   Emails between Mark Power and Michael Fox et al.   RYNIKER-        Prejudice - Not produced
         April 16, 2019                                                       VALDESE_0000516 by discovery deadline.
                                                                                                 Best Evidence Rule.
                                                                                                 Hearsay.
                                                                                                 Foundation, including lack
                                                                                                 of personal knowledge.
                                                                                                 Relevance.
                                                                                                 Authentication.




                                                            4
                    Case 8-20-08140-reg    Doc 16-3    Filed 06/28/22    Entered 06/28/22 17:39:47




PX No.       Date                      Document Description                  Bates Number or         Valdese Objections
                                                                                Other Cite

PX-15    March 12, 2019   Emails between Bob Walters, Tim Sunden, etc.      RYNIKER-            Prejudice - Not produced
                                                                            VALDESE_0000729     by discovery deadline.
                                                                            RYNIKER-            Best Evidence Rule.
                                                                            VALDESE_0000731
                                                                            RYNIKER-            Hearsay.
                                                                            VALDESE_0000732     Foundation, including lack
                                                                                                of personal knowledge.
                                                                                                Relevance.
                                                                                                Authentication.

PX-16    March 19, 2019   Emails between Michael Shelton and Lee Silberman RYNIKER-        Prejudice - Not produced
                          et al.                                           VALDESE_0000733 by discovery deadline.
                                                                                                Best Evidence Rule.
                                                                                                Hearsay.
                                                                                                Foundation, including lack
                                                                                                of personal knowledge.
                                                                                                Relevance.
                                                                                                Authentication.




                                                           5
                      Case 8-20-08140-reg     Doc 16-3    Filed 06/28/22       Entered 06/28/22 17:39:47




PX No.         Date                       Document Description                     Bates Number or         Valdese Objections
                                                                                      Other Cite

PX-17     April 10, 2019     Emails between Tim Puopolo and bob Tetreault et      RYNIKER-        Prejudice - Not produced
                             al.                                                  VALDESE_0000269 by discovery deadline.
                                                                                                      Best Evidence Rule.
                                                                                                      Hearsay.
                                                                                                      Foundation, including lack
                                                                                                      of personal knowledge.
                                                                                                      Relevance.
                                                                                                      Authentication.

PX-18    February 28, 2019   Emails between Tim Puopolo and bob Tetreault et      RYNIKER-        Prejudice - Not produced
          – April 10, 2019   al.                                                  VALDESE_0000259 by discovery deadline.
                                                                                                      Best Evidence Rule.
                                                                                                      Hearsay.
                                                                                                      Foundation, including lack
                                                                                                      of personal knowledge.
                                                                                                      Relevance.
                                                                                                      Authentication.




                                                              6
                    Case 8-20-08140-reg    Doc 16-3    Filed 06/28/22      Entered 06/28/22 17:39:47




PX No.       Date                      Document Description                    Bates Number or         Valdese Objections
                                                                                  Other Cite

PX-19    April 11, 2019   Emails between Tessie Mucius and Tim Sunden et      RYNIKER-        Prejudice - Not produced
                          al.                                                 VALDESE_0000032 by discovery deadline.
                                                                              RYNIKER-        Best Evidence Rule.
                                                                              VALDESE_0000036
                                                                                              Hearsay.
                                                                                                  Foundation, including lack
                                                                                                  of personal knowledge.
                                                                                                  Relevance.
                                                                                                  Authentication.

PX-20    April 11, 2019   Emails between Tim Sunden and Lee Silberman et      RYNIKER-        Prejudice - Not produced
                          al.                                                 VALDESE_0000499 by discovery deadline.
                                                                              RYNIKER-        Best Evidence Rule.
                                                                              VALDESE_0000501
                                                                                              Hearsay.
                                                                                                  Foundation, including lack
                                                                                                  of personal knowledge.
                                                                                                  Relevance.
                                                                                                  Authentication.




                                                          7
                     Case 8-20-08140-reg      Doc 16-3    Filed 06/28/22    Entered 06/28/22 17:39:47




PX No.        Date                       Document Description                     Bates Number or       Valdese Objections
                                                                                     Other Cite

PX-21    April 11, 2019     Emails between Bill Fuchs and Lee Silberman et al.   RYNIKER-        Prejudice - Not produced
                                                                                 VALDESE_0000498 by discovery deadline.
                                                                                                    Best Evidence Rule.
                                                                                                    Hearsay.
                                                                                                    Foundation, including lack
                                                                                                    of personal knowledge.
                                                                                                    Relevance.
                                                                                                    Authentication.

PX-22    April 11, 2019 –   Emails between Kathi Caianiello and Robert           RYNIKER-        Prejudice - Not produced
          April 23, 2019    Tetreault et al.                                     VALDESE_0000571 by discovery deadline.
                                                                                 RYNIKER-        Best Evidence Rule.
                                                                                 VALDESE_0000577
                                                                                                 Hearsay.
                                                                                                    Foundation, including lack
                                                                                                    of personal knowledge.
                                                                                                    Relevance.
                                                                                                    Authentication.




                                                              8
                    Case 8-20-08140-reg     Doc 16-3    Filed 06/28/22   Entered 06/28/22 17:39:47




PX No.       Date                      Document Description                  Bates Number or         Valdese Objections
                                                                                Other Cite

PX-23    April 24, 2019   Email between Robert Tetreault and Kathi          RYNIKER-        Prejudice - Not produced
                          Caianiello et al.                                 VALDESE_0000592 by discovery deadline.
                                                                            RYNIKER-        Best Evidence Rule.
                                                                            VALDESE_0000594
                                                                                            Hearsay.
                                                                                                Foundation, including lack
                                                                                                of personal knowledge.
                                                                                                Relevance.
                                                                                                Authentication.

PX-24    April 25, 2019   Emails between Robert Tetreault and Tim Sunden et RYNIKER-        Prejudice - Not produced
                          al.                                               VALDESE_0000639 by discovery deadline.
                                                                                                Best Evidence Rule.
                                                                                                Hearsay.
                                                                                                Foundation, including lack
                                                                                                of personal knowledge.
                                                                                                Relevance.
                                                                                                Authentication.




                                                           9
                     Case 8-20-08140-reg     Doc 16-3    Filed 06/28/22      Entered 06/28/22 17:39:47




PX No.        Date                       Document Description                    Bates Number or         Valdese Objections
                                                                                    Other Cite

PX-25    April 24, 2019 –   Emails between Kristine Snow and Tim Sunden et      RYNIKER-        Prejudice - Not produced
          April 26, 2019    al.                                                 VALDESE_0000662 by discovery deadline.
                                                                                                    Best Evidence Rule.
                                                                                                    Hearsay.
                                                                                                    Foundation, including lack
                                                                                                    of personal knowledge.
                                                                                                    Relevance.
                                                                                                    Authentication.

PX-26    April 26, 2019 –   Emails between Robert Tetreault and Tim Sunden et RYNIKER-        Prejudice - Not produced
          April 29, 2019    al.                                               VALDESE_0000681 by discovery deadline.
                                                                                                    Best Evidence Rule.
                                                                                                    Hearsay.
                                                                                                    Foundation, including lack
                                                                                                    of personal knowledge.
                                                                                                    Relevance.
                                                                                                    Authentication.




                                                            10
                    Case 8-20-08140-reg    Doc 16-3    Filed 06/28/22      Entered 06/28/22 17:39:47




PX No.       Date                      Document Description                    Bates Number or         Valdese Objections
                                                                                  Other Cite

PX-27    April 29, 2019   Emails between Tim Sunden and Robert Tetreault et RYNIKER-        Prejudice - Not produced
                          al.                                               VALDESE_0000691 by discovery deadline.
                                                                                                  Best Evidence Rule.
                                                                                                  Hearsay.
                                                                                                  Foundation, including lack
                                                                                                  of personal knowledge.
                                                                                                  Relevance.
                                                                                                  Authentication.

PX-28    April 29, 2019   Emails between Kristine Snow and Tim Sunden et      RYNIKER-        Prejudice - Not produced
                          al.                                                 VALDESE_0000713 by discovery deadline.
                                                                              RYNIKER-        Best Evidence Rule.
                                                                              VALDESE_0000714
                                                                                              Hearsay.
                                                                                                  Foundation, including lack
                                                                                                  of personal knowledge.
                                                                                                  Relevance.
                                                                                                  Authentication.




                                                          11
                         Case 8-20-08140-reg     Doc 16-3     Filed 06/28/22   Entered 06/28/22 17:39:47




PX No.            Date                       Document Description                    Bates Number or       Valdese Objections
                                                                                        Other Cite

PX-29       April 29, 2019 –    Emails between Robert Tetreault and Kristine Snow   RYNIKER-        Prejudice - Not produced
             April 30, 2019     et al.                                              VALDESE_0000720 by discovery deadline.
                                                                                                       Best Evidence Rule.
                                                                                                       Hearsay.
                                                                                                       Foundation, including lack
                                                                                                       of personal knowledge.
                                                                                                       Relevance.
                                                                                                       Authentication.

PX-30       February 22, 2019   Reclamation Demand Letter                           DX-1

 22168419




                                                                 12
